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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


GENTEX CORPORATION,                           No. 4:17-CV-01136

          Plaintiff.                          (Judge Brann)

     v.

HELICOPTER HELMETS, LLC,

          Defendant.

                                 ORDER

     AND NOW, this 12th day of February 2018, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.   Defendant’s Motion to Dismiss, ECF No. 9, is GRANTED as

          follows:

          a. Count I of Plaintiff’s Complaint, ECF No. 1, is DISMISSED

             WITHOUT PREJUDICE, but Plaintiff is GRANTED leave to

             amend that claim as indicated in the accompanying Memorandum

             Opinion no later than twenty-one days from the date of this

             Order.

          b. Count II of Plaintiff’s Complaint is DISMISSED WITH

             PREJUDICE.
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    c. Count III of Plaintiff’s Complaint is DISMISSED WITHOUT

       PREJUDICE, but Plaintiff is GRANTED leave to amend that

       claim as indicated in the accompanying Memorandum Opinion no

       later than twenty-one days from the date of this Order.

    d. Proceedings on Count IV of Plaintiff’s Complaint are STAYED

       pending resolution of Helicopter Helmets v. Gentex Co., No. 1:17-

       CV-00479 (D. Del.), but if Plaintiff does not amend its complaint

       within twenty-one days from the date of this Order, the Clerk of

       Court is ordered to TRANSFER this case to the United States

       District Court for the District of Delaware.

                                     BY THE COURT:


                                     s/ Matthew W. Brann
                                     Matthew W. Brann
                                     United States District Judge




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